           Case 3:21-cv-19074-MAS-DEA Document 1 Filed 10/20/21 Page 1 of 6 PageID: 1

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination



                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                           DistrictDistrict
                                                      __________   of Newof Jersey
                                                                              __________

                                                                ______Civil
                                                                __________ Division
                                                                            Division

                           Kara_ Craig
                                                                            )      Case No.
                                                                            )                     (to be filled in by the Clerk’s Office)
                                                                            )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.        )
If the names of all the plaintiffs cannot fit in the space above,           )      Jury Trial: (check one)     ’ Yes        ’ No
please write “see attached” in the space and attach an additional           )
page with the full list of names.)
                                                                            )
                                 -v-
                                                                            )
                                                                            )
                             Conduent                                       )
                                                                            )
                                                                            )
                              Defendant(s)                                  )
(Write the full name of each defendant who is being sued. If the            )
names of all the defendants cannot fit in the space above, please           )
write “see attached” in the space and attach an additional page
with the full list of names.)



                              COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.        The Parties to This Complaint
          A.        The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                               Name                                    Kara_ Craig
                               Street Address                          c/o 2468 US Hwy 206 #1132
                               City and County                         Belle Mead (Somerset)
                               State and Zip Code                      NJ 08502
                               Telephone Number
                               E-mail Address


          B.        The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person’s job or title (if known). Attach additional pages if needed.

                                                                                                                                            Page 1 of 6
           Case 3:21-cv-19074-MAS-DEA Document 1 Filed 10/20/21 Page 2 of 6 PageID: 2

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination


                    Defendant No. 1
                               Name                             Conduent
                               Job or Title (if known)
                               Street Address                   645 Martinsville Rd
                               City and County                  Basking Ridge (Somerset)
                               State and Zip Code               NJ 07920
                               Telephone Number                 (732) 384-4830
                               E-mail Address (if known)


                    Defendant No. 2
                               Name
                               Job or Title (if known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (if known)


                    Defendant No. 3
                               Name
                               Job or Title (if known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (if known)


                    Defendant No. 4
                               Name
                               Job or Title (if known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (if known)



                                                                                           Page 2 of 6
           Case 3:21-cv-19074-MAS-DEA Document 1 Filed 10/20/21 Page 3 of 6 PageID: 3

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination


          C.          Place of Employment

                      The address at which I sought employment or was employed by the defendant(s) is

                               Name                             Conduent
                               Street Address                   500 Atrium Dr
                               City and County                  Franklin Twp (Somerset)
                               State and Zip Code               NJ 08873
                               Telephone Number                 (732) 384-4830


II.       Basis for Jurisdiction

          This action is brought for discrimination in employment pursuant to (check all that apply):

                  ✔
                  ’              Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,
                                 color, gender, religion, national origin).

                                 (Note: In order to bring suit in federal district court under Title VII, you must first obtain a
                                 Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

                  ✔
                  ’              Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

                                 (Note: In order to bring suit in federal district court under the Age Discrimination in
                                 Employment Act, you must first file a charge with the Equal Employment Opportunity
                                 Commission.)

                  ✔
                  ’              Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

                                 (Note: In order to bring suit in federal district court under the Americans with Disabilities
                                 Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
                                 Opportunity Commission.)

                  ’              Other federal law (specify the federal law):


                  ’              Relevant state law (specify, if known):


                  ’              Relevant city or county law (specify, if known):




                                                                                                                           Page 3 of 6
             Case 3:21-cv-19074-MAS-DEA Document 1 Filed 10/20/21 Page 4 of 6 PageID: 4

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination



III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.        The discriminatory conduct of which I complain in this action includes (check all that apply):

                            ’             Failure to hire me.
                            ’             Termination of my employment.
                            ’             Failure to promote me.
                            ✔
                            ’             Failure to accommodate my disability.
                            ✔
                            ’             Unequal terms and conditions of my employment.
                            ’             Retaliation.
                            ✔
                            ’             Other acts (specify):    Violation of Civil Rights, Discrimination and Unfair Treatment. . .
                                         (Note: Only those grounds raised in the charge filed with the Equal Employment
                                         Opportunity Commission can be considered by the federal district court under the
                                         federal employment discrimination statutes.)

        B.          It is my best recollection that the alleged discriminatory acts occurred on date(s)
                    Between 2018 and 2020


        C.          I believe that defendant(s) (check one):
                            ✔
                            ’             is/are still committing these acts against me.
                            ’             is/are not still committing these acts against me.

        D.          Defendant(s) discriminated against me based on my (check all that apply and explain):
                            ’             race
                            ’             color
                            ’             gender/sex
                            ’             religion
                            ’             national origin
                            ✔
                            ’             age (year of birth)         1957      (only when asserting a claim of age discrimination.)
                            ✔
                            ’             disability or perceived disability (specify disability)
                                          physical or mental impairments that limit daily activities


        E.          The facts of my case are as follows. Attach additional pages if needed.



                                                                                                                               Page 4 of 6
             Case 3:21-cv-19074-MAS-DEA Document 1 Filed 10/20/21 Page 5 of 6 PageID: 5

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

                    Basis of discrimination charge stems from violation of civil rights and unfair treatment in the workplace
                    of an individual under a protected class 'disabled'. The ADAAA process was improperly handled which
                    resulted in no interaction or accommodation being offered. Hired for a specific role yet was cohearsed
                    to stay in a secondary role in which experienced difficulties. Even though expressed concerns with the
                    Supervisor and Manager, nothing was done to return to the function that was more suitable. The forms
                    of harassment led to stress and medical problems contributing to the onset of disabling condition. Even
                    though not detailed, within unfair treatment was discrimination based on age and race in addition to the
                    disability. Hostile work environment. Never given review or merit for 2018 contribution. Accrued time not
                    allocated. Desk items not recovered. Vested after 6.5 years. Should have been given due consideration.


                    (Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
                    your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                    relevant state or city human rights division.)

IV.     Exhaustion of Federal Administrative Remedies

        A.          It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                    my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                    on (date)
                    On or about 2/2020 (impacted by Covid-19)




        B.          The Equal Employment Opportunity Commission (check one):
                            ’             has not issued a Notice of Right to Sue letter.
                            ✔
                            ’             issued a Notice of Right to Sue letter, which I received on (date)   09/11/2020          .
                                         (Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
                                         Opportunity Commission to this complaint.)

        C.          Only litigants alleging age discrimination must answer this question.

                    Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                    regarding the defendant's alleged discriminatory conduct (check one):

                            ’             60 days or more have elapsed.
                            ’             less than 60 days have elapsed.

V.      Relief

        State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
        arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
        amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
        or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
        money damages.




                                                                                                                            Page 5 of 6
             Case 3:21-cv-19074-MAS-DEA Document 1 Filed 10/20/21 Page 6 of 6 PageID: 6

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

        Prefer to be given accommodation of part time employment which includes remote work with a reduced schedule
        of hours and days. Should receive package with backpay and continuation of benefits subsidized by company for
        respective period. There is no monetary amount that can make up for pain and suffering endured from the unfair
        treatment received, therefore, asking for highest possible settlement through the court to make that determination.
        The work environment was so stressful that after work and eating dinner went to sleep as physically and mentally
        exhausted so the quality of life had dimished. No one should have to endure such an experience while on the job.
        Unfortunately, an unexpected diagnosis required emergent treatment that was life changing and has substantially
        affected activities of daily living which is why need to ease back into the workforce through part time employment.
        This should have been offered during the ADAAA process or at least an extended leave or a disability retirement.

VI.     Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
        and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
        unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
        nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
        opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
        requirements of Rule 11.



        A.          For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case–related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.

                    Date of signing:                 11/27/2020


                    Signature of Plaintiff                 KC
                    Printed Name of Plaintiff              Kara_ Craig


        B.          For Attorneys

                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Street Address
                    State and Zip Code
                    Telephone Number
                    E-mail Address




                                                                                                                      Page 6 of 6
